Case 1:22-cv-04259-SDG   Document 252-6   Filed 12/20/24   Page 1 of 4




                 EXHIBIT 31
           Case 1:22-cv-04259-SDG          Document 252-6            Filed 12/20/24          Page 2 of 4
                                                                                   Page Vault
Document title:                  2000 Mules Extended Trailer - A Film On Election Integrity - Charlie Kirk

Capture URL:                     https://salemnewschannel.com/watch/2000-mules-extended-trailer-a-film-on-election-
                                 integrity-charlie-kirk-6266e365bbf5b900010a0ccc

Page loaded at (UTC):            Wed, 27 Mar 2024 18:00:42 GMT

Capture timestamp (UTC):         Wed, 27 Mar 2024 18:01:26 GMT

Capture tool:                    10.44.2

Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/120.0.6099.276 Safari/537.36

Operating system:                Linux (Node 18.18.2)

PDF length:                      3

Capture ID:                      i28fd87pdbofab4EVFEvKu

User:                            wdeffo




                        PDF REFERENCE #:             hUUgnYDmLmyiy65EMuidpA



                                                                                                             PDSA-0001420
                           Case 1:22-cv-04259-SDG                             Document 252-6      Filed 12/20/24        Page 3 of 4
  SNCTV                   WATCH LIVE                       T    Videos        ide   On Demand   News   More Ways to Watch                     Sign In   411




                                                                                                                              Most Popular Videos Rif
                                                                                                                                                        Investigator!
                                                                                                                                                        Baltimore Br




                                                                                                                                                        DENNIS PRAG
                                                                                                                                                        Banning .ten




                                                                                                                                                        Joel James Fr
                                                                                                                                                        Preview The




2000 Mules Extended Trailer - A Film On Election Integrity - Charlie                                                                                    Trump Prom
Kirk
       Charlie Kirk
                                    -I- Subscribe                                                               Share
                  Anytirim
                                                                                                                                                        BRANDON TA1
                                                                                                                                                        Saying "Chri:

    Coming soon! The long-awaited film by Dinesh D'Souza in partnership with True The Vote.




             Get today's best conservative news
             delivered to your inbox.
             The breaking stone." you're looking for. The answers you need.




                       Send Me the Ne s
                        itwhiet etileren hemsakes gees
                                                                                                                                                        ANDRE1N WIL
                                                                                                                                                        Trump did n<
                                                                                                                                         WI      OW!



                                                                                                                                                        HUGH H£WIT1
                                                                                                                                                        Fmr. Israeli
                                                                                                                                                        Finish The Jo




Document title: 2000 Mules Extended Trailer - A Film On Election Integrity - Charlie Kirk
Capture URL: https://salemnewschannel.com/watch/2000-mules-extended-trailer-a-film-on-election-integrity-charlie-kirk-6266e365bbf5b900010a0ccc
Capture timestamp (UTC): Wed, 27 Mar 2024 18:01:26 GMT                                                                                                    Page 1 of 2
                                                                                                                                           PDSA-0001421
                                                                                                                                                                             saying -tam!

                         Case 1:22-cv-04259-SDG
    Corning soon! The long-awaited                               Document
                                   film by Dinesh D'Souza in partnership        252-6
                                                                         with True The Vote. Filed 12/20/24                                 Page 4 of 4


                Get today's best conservative news
                delivered to your inbox.
                The hrea>thig Stories you're looking for. The answers you need.




                          Send              e the News

                                                                                                                                                                            ANDREW Will
                                                                                                                                                                            Trump did as
                                                                                                                                                                 'MIAOW



                                                                                                                                                                            HUGH HEWIT1
                                                                                                                                                                            Fmr. Israeli A
                                                                                                                                                                 H          Finish Thep




                                                                                                                                                                            Trump's Sod
                                                                                                                                                                            of Trading O

                                                                                                                                                   F




                                                                                                                                                                             SCOTUS Seei
                                                                                                                                                                             Abortion Pill




                                                                                                                                                                            Robert F. Kei
                                                                                                                                                                            Running Mat




  Hugh Hewitt        Mike Galiagher         Dennis Prager         Jay Sekstiow       SeOastan Gorka          Stay Washington       Brandon Tatum       Charlie Kirk     Andrew




                                                                                           SNCry:
                                      ivAillbie                                                               GET IT ON                     Download on the
                            amazon appstore                      ROKU                Channel
                                                                                     Store                    Google Play                   App Store

                                                                                                local
                                                                                  CW10 hug S it


 erms of Use       Privacy Policy        California: CCPA Notice         California: Do Not Sell My Personal l ' itormation    Careers    About                C.) 2024 Salem News Channel




Document title: 2000 Mules Extended Trailer - A Film On Election Integrity - Charlie Kirk
Capture URL: https://salemnewschannetcom/watch/2000-mules-extended-trailer-a-film-on-election-integrity-charlie-kirk-6266e365bbf5b900010a0ccc
Capture timestamp (UTC): Wed, 27 Mar 2024 18:01:26 GMT                                                                                                                           Page 2 of 2
                                                                                                                                                                      PDSA-0001422
